                                                             L.B.F. 3015.1

                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF PENNSYLVANIA

            In re:                                             Chapter           13
            Michael D'Alonzo                                   Case No.           24-12341 pmm

                                Debtor(s)
                                                          Chapter 13 Plan

                          Original
                          Third         Amended
                     ✔
            Date:      February 27, 2025

                                            THE DEBTOR HAS FILED FOR RELIEF UNDER
                                             CHAPTER 13 OF THE BANKRUPTCY CODE

                                                   YOUR RIGHTS WILL BE AFFECTED

            You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
            contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
            actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
            them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
            MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
            This Plan may be confirmed and become binding, unless a written objection is filed.

                               IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                               MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                            NOTICE OF MEETING OF CREDITORS.

            Part 1: Bankruptcy Rule 3015.1(c) Disclosures

                 ‫ ܆‬Plan contains non-standard or additional provisions – see Part 9
                 ‫ ܆‬Plan limits the amount of secured claim(s) based on value of collateral and/or changed
                      interest rate – see Part 4
                 ‫ ܆‬Plan avoids a security interest or lien – see Part 4 and/or Part 9
            Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY
            CASE
                     § 2(a) Plan payments (For Initial and Amended Plans):

                       Total Length of Plan: 60            months.

                       Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 158,734


                         Debtor shall pay the Trustee $              per month for      _ months and then
                         Debtor shall pay the Trustee $              per month for the remaining         months;
                                                                  or
                       Debtor shall have already paid the Trustee $ 11,188 through month number 6      and
                       then shall pay the Trustee $ 2,460       per month for the remaining 35   months. and
                       $3,234 per month for 19 months.
                           ‫ ܆‬Other changes in the scheduled plan payment are set forth in § 2(d)
(12/2024)
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                § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
            addition to future wages (Describe source, amount and date when funds are available, if known):



                § 2(c) Alternative treatment of secured claims:
                  ✔
                  ‫ ܆‬None. If “None” is checked, the rest of § 2(c) need not be completed.

                  ‫ ܆‬Sale of real property
                     See § 7(c) below for detailed description

                  ‫ ܆‬Loan modification with respect to mortgage encumbering property:
                     See § 4(f) below for detailed description

                § 2(d) Other information that may be important relating to the payment and length of Plan:


                § 2(e) Estimated Distribution:
                  A. Total Administrative Fees (Part 3)
                        1.   Postpetition attorney’s fees and costs                 $ 6,000
                        2.   Postconfirmation Supplemental attorney’s fees          $0
                             and costs
                                                                         Subtotal   $ 6,000


                  B. Other Priority Claims (Part 3)                                 $_2,350.41
                                                                                             ___________
                  C. Total distribution to cure defaults (§ 4(b))                   $82,747.45
                  D. Total distribution on secured claims (§§ 4(c) &(d))            $0
                  E. Total distribution on general unsecured claims(Part 5)         $ 51,748.14
                                                                         Subtotal   $ 142,846.00
                  F. Estimated Trustee’s Commission                                 $ 15,871.78
                  G. Base Amount                                                    $ 198,734.00




                §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

                ‫ ܆‬By checking this box, Debtor’s counsel certifies that the information contained in
            Counsel’s Disclosure of Compensation [Form B2030] is accurate, qualifies counsel to receive
            compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
            compensation in the total amount of $                , with the Trustee distributing to counsel the
            amount stated in §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the
            requested compensation.




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            Part 3: Priority Claims




              § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the
            creditor agrees otherwise.

             Creditor                                 Proof of Claim        Type of Priority           Amount to be Paid by
                                                      Number                                           Trustee

             Gellert Seitz Busenkell &                                      Debtor's Counsel          $6,000.00
             Brown, LLC                                                     Fees 507(a)(2)

             Pennsylvania Dept of                     1                     Taxes                     $528.27
             Revenue

             Internal Revenue Service                 6                     Taxes                     $1,822.41



               § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than
            full amount.
                ✔ None. If “None” is checked, the rest of § 3(b) need not be completed.

                     The allowed priority claims listed below are based on a domestic support obligation that has been
            assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
            provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


              Name of Creditor                                    Proof of Claim       Amount to be Paid by Trustee
                                                                  Number




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            Part 4: Secured Claims




                  § 4(a) Secured Claims Receiving No Distribution from the Trustee:
                   ✔ None. If “None” is checked, the rest of § 4(a) need not be completed.
            Creditor                                                                    Proof of     Secured Property
                                                                                        Claim
                                                                                        Number
                If checked, the creditor(s) listed below will receive no distribution
            from the trustee and the parties’ rights will be governed by agreement
            of the parties and applicable nonbankruptcy law.




                If checked, the creditor(s) listed below will receive no distribution
            from the trustee and the parties’ rights will be governed by agreement
            of the parties and applicable nonbankruptcy law.




                   § 4(b) Curing default and maintaining payments
                    ‫ ܆‬None. If “None” is checked, the rest of § 4(b) need not be completed.


                 The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
              Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance
              with the parties’ contract.
               Creditor                            Proof of Claim Description of Secured               Amount to be Paid by
                                                   Number            Property and Address, if          Trustee
                                                                     real property


              Capital One                             5                     2020 Acura                     $716.55

              Acura                                   2                     2023 Acura                     $1,080.00

              Citigroup                               11                    1326 Stoney River Dr.,         $14,086.82
                                                                            Ambler, PA 19002

              New Rez                                 19                    1326 Stoney River Dr.,         $1,300.00
                                                                            Ambler, PA 19002
              Shellpoint                              22                    1709 Asbury Avenue               $59,913.70
                                                                            Ocean City, NJ
                                                      23                    1326 Stoney River Dr.            $5,650.30
              Citigroup                                                     Ambler, PA 19002                 (Per Stipulation)




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                  § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-
            confirmation determination of the amount, extent or validity of the claim
                   ✔ None. If “None” is checked, the rest of § 4(c) need not be completed.
                    (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
            of payments under the plan.

                       (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
            determine the amount, extent or validity of the allowed secured claim and the court will make its determination
            prior to the confirmation hearing.

                    (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
            unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                      (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
            § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
            interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for
            “present value” interest, the claimant must file an objection to confirmation.

                     (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
            release the corresponding lien.

                                        Proof of    Description of        Allowed         Present     Dollar           Amount to
             Name of Creditor           Claim       Secured               Secured         Value       Amount of        be Paid by
                                        Number      Property              Claim           Interest    Present          Trustee
                                                                                          Rate        Value
                                                                                                      Interest




                 § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
                ✔ None. If “None” is checked, the rest of § 4(d) need not be completed.
                The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
            money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
            year of the petition date and secured by a purchase money security interest in any other thing of value.

                  (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of
            payments under the plan.

                     (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
            § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest
            rate or amount for “present value” interest in its proof of claim, the court will determine the present value interest
            rate and amount at the confirmation hearing.

                                        Proof of    Description of        Allowed      Present     Dollar Amount      Amount to
             Name of Creditor           Claim       Secured               Secured      Value       of Present         be Paid by
                                        Number      Property              Claim        Interest    Value Interest     Trustee
                                                                                       Rate




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                 § 4(e) Surrender
                  ✔ None. If “None” is checked, the rest of § 4(e) need not be completed.
                         (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
                         (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property
                             terminates upon confirmation of the Plan.
                         (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

             Creditor                               Proof of Claim           Secured Property
                                                    Number




                 § 4(f) Loan Modification
                  ✔ None. If “None” is checked, the rest of § 4(f) need not be completed.
                    (1) Debtor shall pursue a loan modification directly with                       or its successor in interest or
             its current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage
             claim.

                   (2) During the modification application process, Debtor shall make adequate protection payments directly
             to Mortgage Lender in the amount of $                  per month, which represents                 (describe
             basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
             Mortgage Lender.

                   (3) If the modification is not approved by              (date), Debtor shall either (A) file an amended
             Plan to otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief
             from the automatic stay with regard to the collateral and Debtor will not oppose it.


            Part 5: General Unsecured Claims

                 § 5(a) Separately classified allowed unsecured non-priority claims
                        None. If “None” is checked, the rest of § 5(a) need not be completed.

             Creditor             Proof of Claim     Basis for Separate         Treatment                 Amount to be
                                  Number             Classification                                       Paid by Trustee

            Internal Revenue      6                  Joint with State          Paid in Full               $50,933.25
            Service                                  Exemptions

            Pennsylvania Dept. 1                     Joint with State
            of Revenue                                Exemptions               Paid in Full               $814.89


                 § 5(b) Timely filed unsecured non-priority claims
                        (1) Liquidation Test (check one box)
                           ‫ ܆‬All Debtor(s) property is claimed as exempt.
                          ‫ ܆‬Debtor(s) has non-exempt property valued at $             for purposes of § 1325(a)(4) and plan
            provides for distribution of $                      to allowed priority and unsecured general creditors.

                         (2) Funding: § 5(b) claims to be paid as follows (check one box):
                          ‫ ܆‬Pro rata
                          ‫ ܆‬100%
                          ‫ ܆‬Other (Describe)



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            Part 6: Executory Contracts & Unexpired Leases


                ✔ None. If “None” is checked, the rest of § 6 need not be completed.
             Creditor                        Proof of Claim     Nature of              Treatment by Debtor Pursuant to §365(b)
                                             Number             Contract or
                                                                Lease




            Part 7: Other Provisions


                 § 7(a) General principles applicable to the Plan
                    (1) Vesting of Property of the Estate (check one box)
                             ✔  Upon confirmation
                                Upon discharge

                      (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its
            proof of claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan. Debtor shall amend the plan
            or file an objection should a filed unsecured claim render the Plan unfeasible.

                     (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
            1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors
            shall be made by the Trustee.

                     (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
            the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
            be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
            creditors, or as agreed by the Debtor and the Trustee and approved by the court.

                § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
            principal residence

                    (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
            arrearage.

                     (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
            obligations as provided for by the terms of the underlying mortgage note.

                    (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
            purpose of precluding the imposition of late payment charges or other default-related fees and services based on
            the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
            terms of the mortgage and note.

                     (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
            Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder
            of the claims shall resume sending customary monthly statements.

                    (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
            books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
            book(s) to the Debtor after this case has been filed.

                     (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as
            set forth above.



(12/2024)
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                § 7(c) Sale of Real Property
                 ✔
                 ‫ ܆‬None. If “None” is checked, the rest of § 7(c) need not be completed.

                    (1) Closing for the sale of                                 (the “Real Property”) shall be completed
            within      months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
            agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in
            full under §4(b)(1) of the Plan at the closing (“Closing Date”).

                   (2) The Real Property will be marketed for sale in the following manner and on the following terms:




                    (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
            customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
            convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
            seeking court approval of the sale pursuant to 11 U.S.C. §363, either prior to or after confirmation of the Plan, if,
            in the Debtor’s judgment, such approval is necessary or in order to convey insurable title or is otherwise
            reasonably necessary under the circumstances to implement this Plan.

                   (4) At the Closing, it is estimated that the amount of no less than $                   shall be made
            payable to the Trustee.

                   (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of
            the Closing Date.

                   (6) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
            Deadline:_____________.




            Part 8: Order of Distribution

            The order of distribution of Plan payments will be as follows:

                 Level 1: Trustee Commissions*
                 Level 2: Domestic Support Obligations
                 Level 3: Adequate Protection Payments
                 Level 4: Debtor’s attorney’s fees
                 Level 5: Priority claims, pro rata
                 Level 6: Secured claims, pro rata
                 Level 7: Specially classified unsecured claims
                 Level 8: General unsecured claims
                 Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected


            *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
            not to exceed ten (10) percent. If the Trustee’s compensation rate increases resulting in the Plan becoming
            underfunded, the debtor shall move to modify the Plan to pay the difference.




(12/2024)
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Part 9: Non-Standard or Additional Plan Provisions

   Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable
   box in Part 1 of this Plan is checked. Non-standard or additional plan provisions placed elsewhere in the Plan
   are void.

   ‫ ܆‬None. If “None” is checked, the rest of Part 9 need not be completed.




   By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no non-
standard or additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and
consent to the terms of this Plan.

        2/27/2025                                           /s/Michael A. Cataldo
Date:
                                                            Attorney for Debtor(s)


        If Debtor(s) are unrepresented, they must sign below.



Date:
                                                            Debtor


Date:
                                                            Joint Debtor




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